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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

WHAM−O HOLDING, LTD., et al.
                                                        Plaintiff,
v.                                                                   Case No.:
                                                                     1:20−cv−03761
                                                                     Honorable Manish S.
                                                                     Shah
The Partnerships and Unincorporated Associations
Identified on Schedule "A"
                                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 30, 2020:


        MINUTE entry before the Honorable Manish S. Shah: If no written objections are
properly filed by 8/3/20, the court will consider the motion for a preliminary injunction
[25] to be unopposed. Notices mailed. (psm, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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